Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 1 of 17




                    EXHIBIT 11
LIV Golf Outlines Plans for Next Two Years After $2 Billion Investment   https://www.golfchannel.com/news/liv-golf-outlines-plans-next-two-yea...
                         Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 2 of 17



                    LIV Golf Outlines Plans for Next Two Years
                    After $2 Billion Investment

                    By Golf Channel Digital May 10, 2022 at 3:17 PM


                    LIV Golf announced Tuesday that it will host two additional tournaments in 2023
                    before launching its full super league in 2024, thanks to another $2 billion
                    investment.

                    The eight-tournament LIV Golf Invitational Series kicks off next month outside
                    London with a record $25 million event, including $4 million to the winner and
                    approximately $120,000 for the last-place finisher in the 54-hole event. Because
                    the tournament conflicts with the PGA Tour’s RBC Canadian Open, any interested
                    player had to request a release to play in the June 9-11 event. The deadline for PGA
                    Tour commissioner Jay Monahan to grant or deny those releases was Tuesday.

                    Phil Mickelson, Lee Westwood and Sergio Garcia are among the players who have
                    publicly disclosed that they requested a release. Six of the top 50 players in the
                    world, and 19 of the top 100, have signed up for the inaugural event.

                    LIV Golf CEO Greg Norman told the BBC that the first event at the Centurion Golf
                    Club will be streamed live on YouTube.

                    In the press release Tuesday, LIV officials said that 10 tournaments will be played
                    in 2023, with a full 14 events scheduled for 2024 and 2025, after the breakaway
                    tour secured $2 billion of extra funding from Saudi Arabia’s Public Investment
                    Fund. Norman defended the source of the money and told the BBC that they’re
                    looking at “decades” in the future as they look to reshape the golf landscape.

                    “We have a long-term vision and we’re here to stay,” Norman said in a statement.
                    “We’re going to grow the game, give more opportunities to play, and create a more
                    entertaining product for fans. … We realize it won’t happen overnight, and we’re
                    excited for the opportunities LIV Golf will add to the game as we continue to grow.”




1 of 1                                                                                                                        8/7/2022, 1:35 PM
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 3 of 17




                    EXHIBIT 12
              Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 4 of 17


   Brooks Koepka, Abraham Ancer the latest to leave PGA Tour for
   LIV Golf: Reports

   By The Athletic Staff


   June 21, 2022Updated 7:30 PM PDT


   Brooks Koepka, a four-time major winner and former world No. 1, will leave the PGA Tour for the LIV Golf International
   Series, according to multiple reports on Tuesday. The PGA Tour announced Koepka withdrew from the Thursday's Travelers
   Championship in Connecticut and replaced by Mark Hubbard.

   Abraham Ancer, No. 20 in the Official World Golf Ranking, will also join LIV, he said in an interview with Boardroom, giving
   the new circuit two of their highest-ranked golfers to date.

   Koepka, 32, will make his LIV Golf debut in the circuit's second event next week in Oregon, the Telegraph and Sky Sports
   reported. He is the third major winner to join LIV since its first event, joining Bryson DeChambeau and Patrick Reed, who will
   also make their LIV debuts next week. Phil Mickelson, Dustin Johnson and Sergio Garcia headlined the 48-player field for the
   first event in Hemel Hempstead, Hertfordshire, which was won by Charl Schwartzel on June 11.

   At Nos. 19 and 20 in the world, Koepka and Ancer become LIV's second- and third-ranked golfers behind Johnson (No. 16).
   Ancer, 31, has won once on the PGA Tour (in 2021) and finished tied for ninth at the PGA Championship in May.

   Koepka most recently competed at the U.S. Open last week, finishing 55th. When asked last Tuesday if he planned to remain
   on the PGA Tour permanently, Koepka did not give a definitive answer, saying, "There's been no other option to this point, so
   where else are you going to go?"

   "I wasn't playing last week," Koepka said. "I'm here. I'm here at the U.S. Open. I'm ready to play U.S. Open, and I think it kind
   of sucks, too, you are all throwing this black cloud over the U.S. Open. It's one of my favorite events. I don't know why you
   guys keep doing that.

   "The more legs you give it, the more you keep talking about it."

   The LIV Golf series is controversial for a number of reasons, including that it's backed by Saudi financing and will play two of
   its eight tournaments this year at Donald Trump-owned courses. Its massive purses — $255 million in prize money will be
   awarded over eight events — have now attracted eight top-50 golfers: Johnson, Koepka, Ancer, Louis Oosthuizen,
   DeChambeau, Kevin Na, Reed and Talor Gooch. Koepka's brother, Chase Koepka, also played in the first LIV event.

   The PGA Tour responded as soon as the first LIV event teed off on June 9, suspending all current and future players who
   participate in the new circuit. The USGA allowed LIV golfers to play in the 2022 U.S. Open, and it seems likely they'll be able
   to participate in The Open Championship next month, though nothing is official as of now.

   Koepka, who won back-to-back U.S. Opens in 2017 and 2018 and PGA Championships in 2018 and 2019, has not been nearly
   the player who was considered easily one of the top golfers in the world a few years ago. His best finish in this year's majors is
   55th, where he finished at both the U.S. Open and PGA Championship after missing the cut at the Masters. He'll likely finish
   the year with his worst year-end world ranking since 2014.

   No current top-10 golfer has joined LIV Golf. Collin Morikawa, the world No. 4 who finished tied for fifth at the U.S. Open,
   tweeted Tuesday he's "here to stay" on the PGA Tour.

   LIV Golf's next event begins June 30 at Pumpkin Ridge Golf Club in North Plains, Ore.

   (Photo: John David Mercer / USA Today)




https://theathletic.com/news/brooks-koepka-liv-golf/3IxStlkrHIWE/
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 5 of 17




                    EXHIBIT 13
      Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 6 of 17


LIV Golf Tournament at Trump Club Sees Thin Crowds, $1
Tickets: Reports

Jason Lemon On
             On7/30/22
                7/30/22 at 6:07PM
                        at 6:07 PMEDT
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LIV Golf Tournament at Trump Club Sees Thin Crowds, $1 Tickets: Reports      https://www.newsweek.com/liv-golf-tournament-trump-club-sees-thin-...
                         Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 7 of 17




                      Donald Trump walks the driving range during day two of the LIV Golf Invitational at Trump
                      National Golf Club Bedminster on Friday in New Jersey. Jared C. Tilton/LIV via Getty Images

                 The New York Times reported Friday that the crowds at the event were "thin and scant at many holes,"
                 although it also noted the "easy camaraderie" among the players. Similarly, The Wall Street Journal reported
                 that many holes "had just a smattering of fans as the day progressed" on Friday. The conservative newspaper
                 additionally reported that tickets for the event were being sold for as little as $1 on StubHub.com.

                 A search by Newsweek on Saturday afternoon showed tickets for the Sunday event at Trump's Bedminster
                 club being sold for as little as $7 and $8 on the ticketing website. Some event tickets were going for as much
                 as $150 as well.

                 "The golf itself, meanwhile, wasn't exactly supercharged—light crowds were spread across much of the vast
                 grounds here on the first day of the tournament," the Journal reported.

                 Golfweek, meanwhile, described the crowd as "lively." Some attendees reportedly chanted "Four more years!"
                 and "Let's go Brandon!" when Trump made his first appearance to tee-off at the event. "Let's go Brandon"
                 has become a popular slogan by right-wing critics of President Joe Biden, as it stands in for "F*** Joe Biden."

                 Trump shrugged off criticism of the Saudi financing behind the event, saying the funders were his friends

                 "I've known these people for a long time in Saudi Arabia and they have been friends of mine for a long time,"
                 Trump said Thursday, according to The Times.

                 "They've invested in many American companies. They own big percentages of many, many American
                 companies and frankly, what they are doing for golf is so great, what they are doing for the players is so great.
                 The salaries are going to go way up," the former president said.

                 Newsweek reached out to LIV Golf for comment.




2 of 2                                                                                                                               8/7/2022, 1:36 PM
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 8 of 17




           EXHIBIT 14
 EXHIBIT FILED UNDER SEAL
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 9 of 17




           EXHIBIT 15
 EXHIBIT FILED UNDER SEAL
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 10 of 17




            EXHIBIT 16
 EXHIBIT FILED UNDER SEAL
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 11 of 17




            EXHIBIT 17
 EXHIBIT FILED UNDER SEAL
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 12 of 17




            EXHIBIT 18
 EXHIBIT FILED UNDER SEAL
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 13 of 17




            EXHIBIT 19
 EXHIBIT FILED UNDER SEAL
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 14 of 17




                     EXHIBIT 20
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 15 of 17
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 16 of 17
Case 5:22-cv-04486-BLF Document 148-3 Filed 11/09/22 Page 17 of 17
